           Case 7:21-cv-00108-HL Document 1 Filed 03/02/21 Page 1 of 10                       FILED
                                                                                     2021 Mar-03 AM 09:28
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

KENNETH NORMAN,            §
                           §
    Plaintiff,             §
                           §                              CIVIL ACTION NO.:
v.                         §
                           §                                 JURY DEMAND
CANFOR SOUTHERN PINE, INC. §
                           §
    Defendant.             §
                           §
                       COMPLAINT

 I.   INTRODUCTION

      1.      Plaintiff alleges that in violation of Title VII of the Civil Rights Act, 42

U.S.C. §2000e et seq., as amended, (“Title VII”), and the American with Disabilities

Act, 42 U.S.C. 12101 et seq., as amended, (“ADA”), Defendant discriminated

against him based on his race, color, and or disability. Plaintiff further alleges

Defendant retaliated against him for seeking an accommodation under the

Americans with Disabilities Act and interfered with his rights under the Family

Medical Leave Act of 1991, 29 U.S.C. 2614, (“FMLA”), as amended. Plaintiff

contends he is entitled to equitable relief and compensatory, liquidated, and punitive

damages, attorney’s fees, and costs.

II.   JURISDICTION

      2.      Plaintiff invokes the jurisdiction of this Court according to 28 U.S.C.

                                            1
            Case 7:21-cv-00108-HL Document 1 Filed 03/02/21 Page 2 of 10




“1331, 1343(a)(4), 2201-2202, 42 U.S.C. §2000e et seq., 42 U.S.C. §1981, 42

U.S.C. § 12101, et seq., 29 U.S.C. 621 et seq., and 29 U.S.C. 2614.

III.   PARTIES

       3.      Plaintiff, Kenneth Norman, is a male citizen of the United States.

Plaintiff has fulfilled all conditions precedent to this action's institution under the

ADA, and Title VII. Plaintiff has filed and or relied upon a timely charge of race,

color, and disability discrimination with the EEOC. The EEOC issued a right-to-

sue letter to the Plaintiff on his charge of race, color, and disability discrimination.

Plaintiff has filed this suit within 90 days of receipt of such right-to-sue letters.

       4.      Defendant Canfor Southern Pine, Inc., (hereinafter “Canfor”), is an

“employer” subject to suit as defined under Title VII, Section 1981, the ADA, and

the FMLA.

IV.    STATEMENT OF FACTS

       5.      Plaintiff is an African American, formerly employed by the Defendant

as a Millwright and Welder.

       6.      Plaintiff was terminated on or about January 31, 2020.

       7.      Plaintiff witnessed and experienced racial discrimination during his

employment with the Defendant.

       8.       The Defendant’s Night Shift Supervisor, Jason Cato (“Cato”),

regularly referred to Plaintiff or called him, “Boy” and “Bubba”. Cato did not call


                                            2
           Case 7:21-cv-00108-HL Document 1 Filed 03/02/21 Page 3 of 10




his white co-workers “Boy” or “Bubba.”

      9.       Not wanting to deal with multiple African Americans, Cato made

Plaintiff’s African American co-workers unofficially report to Plaintiff, including

Timothy Hill, which is inconsistent with the Defendant’s organizational structure.

Cato did not make any white co-workers report to Plaintiff and all white co-workers

reported directly to Cato.

      10.      Ultimately, Hill raised safety concerns associated with his assignment,

Cato made him proceed with his work in an unsafe manner, and then Cato fired Hill

for violating safety rules.

      11.      Once Plaintiff was the sole African American on the shift, Defendant

assigned all night shift employees a “Partner,” but it would not force the white

workers to partner with an African American. As such, Plaintiff was the only night

shift employee who did not receive a partner.

      12.     On or around the morning of January 21, 2020, Plaintiff experienced a

medical issue requiring an emergency medical procedure. Plaintiff called Cato to

inform him he could not work that day due to the procedure. Cato did not answer.

      13.     Plaintiff then called and informed Josh Newman (“Newman”),

Defendant’s acting Shift Supervisor at the time, he was going to miss work for the

medical procedure.

      14.     Without the medical procedure, Plaintiff would likely experience


                                           3
         Case 7:21-cv-00108-HL Document 1 Filed 03/02/21 Page 4 of 10




greater than three days incapacity due to the health condition.

      15.    With the medical procedure, Plaintiff missed three days of work and

would miss additional time due to follow-up appointments and treatment.

      16.    Plaintiff needed to miss and missed at least three days of work related

to the procedure. Newman and Plaintiff discussed his need and absences.

      17.    Newman assured Plaintiff he would inform the necessary individuals

for attendance purposes.

      18.    Upon Plaintiff’s return to work on or around the 24th of January,

Plaintiff was approached by Adam Calhoun (“Calhoun”), a white Sawmill

Supervisor. He told Plaintiff his doctor’s excuse for the missing days would not

suffice, and if Cato were present, he would need to speak with him about the matter.

      19.    Calhoun instructed Plaintiff to go to the office and sign paperwork, but

there was no paperwork when he arrived. Calhoun then told Plaintiff to go home

and he was not permitted to return for a few days later until he could speak with

Yarot Castillo (“Castillo”).

      20.     When Plaintiff returned to speak with him, Castillo told Plaintiff his

excuse was valid, but he was being terminated for failing to follow the Defendant’s

call-in policy.

      21.    Plaintiff told Castillo he called Cato and Newman as referenced above

and required under company policy.


                                         4
        Case 7:21-cv-00108-HL Document 1 Filed 03/02/21 Page 5 of 10




      22.      Castillo told Plaintiff he would investigate and asked that Plaintiff call

him the following day.

      23.      Castillo was not at work the following day, so Plaintiff called him the

day after. Castillo informed Plaintiff the Defendant was moving forward with his

termination.

      24.      In previous safety meetings and discussions with Cato, the Defendant

informed employees they it disciplined on a graduated schedule, with a three-day

suspension being issued before any termination.

      25.      Plaintiff observed white co-workers were provided the benefit of that

progressive discipline policy, but he was not, and he did not receive the same

graduated, scheduled three-day suspension before his termination that white

Millwright and Welders enjoyed.

      26.      Further, Plaintiff was terminated for reporting his absences to those

above him in the chain of command, while white Millwrights and Welders doing

the same, such as Shawn (LNU), kept their jobs.

      27.      Defendant delay Plaintiff’s hiring as a full-time employee in favor of

the fulltime employment of white Millwrights and Welders causing him a loss or

delay in compensation and benefits.

      28.      Defendant assigned Plaintiff lesser job assignments, it did not give

him raises when his white coworkers were receiving the same, and he was paid a


                                            5
         Case 7:21-cv-00108-HL Document 1 Filed 03/02/21 Page 6 of 10




lesser rate than his white co-workers.

V.    CAUSES OF ACTION

                             COUNT I:
         TITLE VII – VIOLATIONS OF THE CIVIL RIGHTS ACT
          (RACE AND OR COLOR-BASED DISCRIMINATION)

      29.    Plaintiff brings his discrimination claim based on race and or color

under Title VII of the Act of Congress known as the “Civil Rights Act of 1964,” as

amended, 42 U.S.C. §2000e et seq., the “Civil Rights Act of 1991”.

      30.    In support of his claim, Plaintiff incorporates by reference Paragraphs

2-11, and 18-28, supra.

      31.    Plaintiff asserts Defendant’s termination of his employment was

substantially motivated due to his race, African American, and or color, Black.

      WHEREFORE, the Plaintiff respectfully prays that this Court assume

jurisdiction of this action and provide him injunctive relief and declaratory relief,

equitable relief, back-pay (plus interest), the value of lost benefits, punitive

damages, attorneys' fees, costs, and expenses, as well as any other relief allowed or

deemed just and proper by the Court.

                                  COUNT II:
             42 U.S.C. §1981 – VIOLATIONS OF SECTION 1981
                        (DISPARATE TREATMENT)

      32.    Plaintiff brings his disparate treatment claim based on race only under

42 U.S.C. § 1981, as amended, otherwise known as Section 1981.


                                         6
         Case 7:21-cv-00108-HL Document 1 Filed 03/02/21 Page 7 of 10




       33.     In support of his disparate treatment claim under §1981, Plaintiff

incorporates by reference Paragraphs 2-11 and 18-28, supra.

       34.     Plaintiff asserts Defendant subjected him to disparate terms and

conditions of employment resulting in an adverse employment action against him,

i.e., his termination.

       WHEREFORE, the Plaintiff respectfully prays that this Court assume

jurisdiction of this action and provide him injunctive relief and declaratory relief,

equitable relief, back-pay (plus interest), the value of lost benefits, punitive

damages, attorneys' fees, costs, and expenses, as well as any other relief allowed or

deemed just and proper by the Court.

                                  COUNT III:
    42 U.S.C. 12101 et seq. – VIOLATION OF THE DISABILITIES ACT
                (DISABILITY-BASED DISCRIMINATION)

       35.     Plaintiff is an individual Defendant perceived as disabled, as defined

under the ADA 42 U.S.C. §12102, after learning of his medical condition and

medical procedure.

       36.     In support of his disability claim, Plaintiff incorporates by reference

Paragraphs 2-4 and 12-23, supra.

       37.     Defendant terminated Plaintiff after learning of his medical condition

and his potential limitations related to the same, one day after Castillo stated he

investigate.


                                           7
          Case 7:21-cv-00108-HL Document 1 Filed 03/02/21 Page 8 of 10




       38.      Defendant does not forgo its progressive discipline policy where

attendance and Plaintiff’s co-workers without a disability or perceived disability are

concerned.

       39.      Defendant does not terminate Plaintiff’s co-workers that possess no

medical conditions or less serious medical conditions compared to Plaintiff, when

they follow Defendant’s call in procedure.

       40.      Defendant has intentionally, maliciously and with reckless indifference

discriminated against Plaintiff based on his disability or his perceived disability with

regards to his terms and conditions of employment. 42 U.S.C. §12112.

       WHEREFORE, the Plaintiff respectfully prays that this Court assume

jurisdiction of this action and provide him injunctive relief and declaratory relief,

equitable relief, back-pay (plus interest), the value of lost benefits, attorneys' fees,

costs, and expenses, as well as any other relief allowed or deemed just and proper

by the Court.

                            COUNT IV:
 29 U.S.C. 2614 – VIOLATION OF THE FAMILY MEDICAL LEAVE ACT
                (INTERFERRENCE WITH FMLA RIGHTS)

       41.      Defendant employed Plaintiff for more than 12 continuous or non-

continuous months.

       42.      Plaintiff worked at least 1,250 hours at Defendant’s facility in the 12-

month period preceding his need for FMLA leave.


                                            8
          Case 7:21-cv-00108-HL Document 1 Filed 03/02/21 Page 9 of 10




       43.    Defendant employs more than 50 individuals at the facility where

Plaintiff worked.

       44.    In support of his FMLA interference claim, Plaintiff incorporates by

reference Paragraphs 2-4 and 12-23, supra.

       45.    Plaintiff possessed a known serious health condition.

       46.    Plaintiff experienced a medical issue and had an emergency medical

procedure related to his serious health condition that left untreated would cause

more than 3 days incapacitation.

       47.    Defendant knew or should have known Plaintiff was in need of leave

protected under the FMLA.

       48.    Upon Plaintiff’s return to work he was informed his “missed days” was

not excusable.

       49.    Defendant did not count Plaintiff’s absences as protected leave under

the FMLA, terminated his employment based on those absences, interfering with

Plaintiff’s right to leave under the FMLA.

       WHEREFORE, the Plaintiff respectfully prays that this Court assume

jurisdiction of this action and provide him back-pay (plus interest), the value of lost

benefits, liquidated damages, attorneys' fees, costs, and expenses, as well as any

other relief allowed or deemed just and proper by the Court.




                                           9
        Case 7:21-cv-00108-HL Document 1 Filed 03/02/21 Page 10 of 10




Dated: March 2, 2021

                                              Respectfully submitted,



                                              /s/ Robert Camp
                                               ROBERT J. CAMP


OF COUNSEL
WIGGINS, CHILDS, PANTAZIS,
FISHER & GOLDFARB, LLC
The Kress Building
301 19th Street North
Birmingham, AL 35203
Telephone: (205) 314-0500
Facsimile: (205) 254-1500
E-mail: rcamp@wigginschilds.com

            PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY

                                              /s Robert Camp
                                               ROBERT J. CAMP


      PLAINTIFF DEMAND A TRIAL BY STRUCK JURY ON ALL
      ISSUES TRIABLE BY A JURY.

Plaintiff requests this Honorable Court to serve via certified mail upon the Defendant
the following: Summons, Complaint.

Defendant’s Address:
Canfor Southern Pine, Inc.
C T Corporation System, Registered Agent
289 S Culver St, Lawrenceville, GA

                                              /s Robert Camp
                                              ROBERT J. CAMP


                                         10
